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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
DAVID I. GRAZETTE,

                               Plaintiff,

       -v-                                               CIVIL ACTION NO.: 20 Civ. 965 (AJN) (SLC)

ROCKEFELLER, et al.,                                                      ORDER

                               Defendants.

SARAH L. CAVE, United States Magistrate Judge.

       On October 26, 2020, Defendant City of New York filed a Letter-Motion to Stay

proceedings in this action until 30 days after the resolution of a Civilian Complaint Review Board

(“CCRB”) investigation into the underlying allegations in this case. (ECF No. 32). In pertinent part,

Defendant represents that the decision of whether to represent individual municipal defendants

(made pursuant to General Municipal Law § 50-(k)) may be hindered until the CCRB investigation

concludes, and that the parties will have limited access to documents and CCRB work product

during the investigation. (ECF No. 32 at 2).

       Shortly thereafter, on November 2, 2020, Defendant requested a sixty-day extension (ECF

No. 35) of the deadline to identify John Doe Defendant officers pursuant to the Court’s Valentin

order within the Order of Service (ECF No. 19 at 5–6). The Court granted that request and

extended Defendant’s deadline to identify the remaining NYPD John Doe Defendants until

Monday, January 4, 2021. (ECF No. 36).

       Plaintiff pro se David Grazette wrote to the Court by letter dated October 30, 2020 (ECF

No. 37) opposing Defendant’s stay request. Mr. Grazette opposes the stay request out of concern
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that it will delay this action. (Id.) Mr. Grazette further notes his discomfort with consenting to

Defendant’s request “without a timeline.” (Id.)

         The Court concludes that a stay will not itself delay this action because, as noted by

Defendant, the parties may not have meaningful access to relevant documents while the CCRB

investigation is pending. (ECF No. 32 at 2). Further, Defendant represents that “due in large part

to the continuing effects of the COVID-19 pandemic, fulfillment of NYPD document and

information requests continues to be delayed,” which has thus far hindered Defendant’s ability

to identify all but one of the John Doe Defendant officers. (ECF No. 35 at 2).

         Accordingly, Defendant’s Letter-Motion for a Stay of proceedings in this action until 30

days after the resolution of the CCRB investigation is GRANTED. Accordingly, the deadlines,

including to identify the remaining John Doe defendants (see ECF No. 36) are adjourned sine die

until after the conclusion of the CCRB investigation.

         Defendant is ORDERED to submit a Status Report updating the Court and Plaintiff about

the status of the CCRB’s investigation on Tuesday, January 5, 2021. The parties are advised that

the Court may revisit or modify the terms of this stay depending on the information contained

within this and any future Status Reports.

         The Clerk of Court is respectfully directed to mail a copy of this order to Mr. Grazette at

the address below and to close ECF No. 32.


Dated:          New York, New York
                November 6, 2020

                                                        SO ORDERED
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                                         _________________________
                                         SARAH L. CAVE
                                         United States Magistrate Judge

Mail To: David I. Grazette
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